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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JOHN DOE,
Plaintiff, .
vt : CIVIL ACTION NO: lS-cv-2044
SAINT JOSEPH'S UNIVERSITY
And
JANE ROE
Defendants.

 

MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY
JUDGEMENT ON DEFENDANT SAINT JOSEPH UNIVER_S_ITY’S COUNTERCLAIM

Plaintiff s claims against Defendant Saint Joseph’s University (“SJU”) arise out of its
gender-biased investigation and adjudication of sexual assault charges made by Defendant Jane
Roe (“Roe”) against Plaintiff John Doe’s (“Doe”). Plaintiff sued SJU on multiple grounds,
including violating Plaintiff s rights under Title IX of the Education Act Amendment of 1972, 20
U.S.C. §1682 et seq. SJU filed a Counterclaim against Plaintiff seeking Attorney’s Fees Pursuant
to 42 U.S.C. l988(b).l Plaintiff asks the Court to dismiss SJU’s Counterclaim on the grounds
that there are not genuine issues of material fact and that Plaintiff is entitled to judgment as a
matter of law.

I. UNDISPUTED FACTS

As an initial matter, SJU’s Counterclaim misstates the claims in Plaintiff s Complaint.

SJU tells the Court that it is entitled to attomey’s fees because Plaintiffs claims “are frivolous,

 

1 See Defendant Saint Joseph’s University’s Answer and Counterclaim, paragraphs 9 through 12. Exhibit A.

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without foundation and lack any objectionable reasonable basis.”2 It specifically asserts that
“plaintiff s complaint contains frivolous and unreasonable allegations that SJU intentionally
withheld information from plaintiff during its investigation in an attempt to embarrass humiliate
and otherwise punish him” (emphasis added) and that Plaintiff “knows these allegations are
unfounded.”3 SJU fundamentally misstates Plaintiffs Complaint; there is no allegation in
Plaintiff s Complaint that SJU acted “in an attempt to embarrass, humiliate and otherwise punish
him.”

Plaintiff certainly alleges that SJU withheld from him information which was available to
Roe, SJU employees and the investigator He alleges that the withholding was knowing and
intentional.4 He alleges that, as a result of that conduct, he suffered, among other things,
humiliation, embarrassment and anxiety. But Plaintiff does not allege that SJU’s conduct was
motivated by an “attempt to embarrass, humiliate, and otherwise punish him.”5 To the contrary,
the premise of Plaintiff s Title IX action is that SJU was motivated by gender bias not personal
animus.

Furthermore, the testimony of SJU’s own employees, and its investigator, have
established that SJU did intentionally withhold information from Plaintiff during its investigation
of Roe’s sexual assault allegations, so the facts on that point are undisputed Before 2015,
allegations of sexual misconduct at SJU were handled much the same as other allegations of

student misconduct; they were investigated and ultimately resolved under a process employed by

SJU’s Community Standards Office (“CSO”).6 The typical process at that time was that claims

 

2 See SJU’s Answer and Counterclaim, 11 9.

3 See SJU’s Answer and Counterclaim, 11 9.

4 See Plaintiffs Complaint 1111 57, 79, 83, 84, 85, 190. Exhibit B.

5 See SJU’s Answer and Counterclaim, 11 lO.

6 For ease of reference, the disciplinary process used by the CSO to handle non-sexual misconduct cases will be
referred to as the “CSO process.”

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of sexual misconduct were investigated by the University before charges were filed against an
accused student. Under the CSO process, accused students were then notified in a written notice
of process letter what specific provisions of the student handbook they were alleged to have
violated. (Bordak, 293 -294 - Exhibit C). Before any assessment of responsibility was made, the
accused student was entitled to see both the specific claims against them in the “incident report.”
(Bordak, 295). A student accused of sexual misconduct was entitled to see any evidence against
him, again, before any determination of responsibility was made. (Bordak, 295).

The rights of students accused of sexual misconduct changed radically in 2015, when
SJU adopted the policy which would ultimately become its Sexual Misconduct Policy “SMP.”
(Bordak, 296).7 The SMP intentionally carved sexually based allegations out of the CSO
process, applying an entirely distinct investigative process - known as the “single investigator”
model - to sexual misconduct claims; one which essentially stripped accused students of a
meaninng opportunity to defend themselves and their reputations. Investigations conducted
pursuant to the SMP deny students accused of sexual misconduct access to the records, evidence
and proof in advance of the “investigation” conducted by SJU’s investigator. (White, 48-49 -
Exhibit D). Counterintuitively, an accused student’s “meeting with the investigator” actually
serves as a hearing. (White, 178). Accused students are never told that the “meeting with the
investigator” is actually the equivalent of a hearing. (Bordak, 361 3-14). “We don't call it a

hearing, but it is through its nature a hearing.” (Bordak, 361 3-14).

 

7 In 2015, SJU actually adopted an Interim Sexual Misconduct Policy (“ISMP”), which, in 2017 morphed into the
current SMP. For purposes of this litigation, there appears to be no meaningful difference between the provisions of
the ISMP and the SMP, so they will be referred to collectively as the SMP.

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Under the SMP an accused student is given access to only with two pieces of information
prior to his hearing: a “Notice of Process Letter” and a “Pre-investigation Checklist.”8 (White,
144-145). The Notice of Process Letter states the date, time and identity of the complainant as
well as an allegation that the accused has violated SJU’s SMP. (White, 146). The SJU’s SMP is
a fifty odd page document addressing six different categories of misconduct Which includes
sexual assault, sexual harassment, domestic violence, dating violence, sexual exploitation,
stalking, retaliation, and intimidation (White, 169; Bordak, 348, 9-13). The accused student is
not told which category or categories are at issue; he is simply directed to the policy as a whole.
(White, 169; Bordak, 277). The second piece of information provided to the accused, the
Checklist, provides no factual information and no additional information as to the specific
provisions of the SMP that the accused is alleged to have violated. (White 152). Other than
those two documents, no additional factual information is to be provided to an accused student
prior to his meeting with an SJU-selected “investigator.” (White, 146, 12-14; 151). SJU does not
share information about the specific allegations against the accused respondent prior to the
hearing. (White, 171). The Office of Community Standards does not share the details of the
charges against him with the accused student either prior to or during the pre-investigation
meeting. (Bordak, 354-355, 20-4). The initial complaint, prepared by the Title IX coordinator
and the claimant, is not provided to the accused respondent prior to the hearing. (White, 154-
155, 163, 265-266). Photographs or other evidence provided by the complainant are not
provided to the accused before his hearing. (White, 163-164).

In fact, all of the testimony given in this case establishes that it is the deliberate policy of

SJU that a student accused of sexual misconduct not be given access to any of those materials

 

8 The checklist is a form document which also includes information about what support is available to the student.
(White, 146).

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prior to his “hearing” before an investigator (White, 49-50). Dr. Kiersten White, Assistant to

the Vice President for Student Life, testified to those facts clearly:

Mirabella:

White:

Mirabella:

White:

Mirabella:

White:

Mirabella:

White:

Mirabella:

White:

(white, 148-149).

I want to talk about what information is provided either directly to the
Respondent or that the Respondent is provided access to prior to the first
meeting with the investigator

Right.

So is there any other written information that's provided other than the
Checklist and the Notice Letter?

As I said, there may be some communication It could be in the form of
various support and resources as well.

But nothing further in writing about the allegations against the
Respondent?

Correct.
Not a copy of the Incident Report; correct?
Correct. . . .

Not a copy of the report taken by the Title IX Coordinator, first report;
correct?

Correct.

This was SJU’s policy: to deny the accused student nearly all information about the

charges against him until his “hearing” with an investigator So as “not to compromise the

investigation.” (Bordak, 297). Students were never advised of this policy, however; it was not

written down anywhere9 (Bordak, 297). But it was SJU policy nonetheless. Other than the

information the investigator provides, students are not told the specifics of the charges against

them under the SMP; “that’s our process. That’s our policy.” (Bordak, 299-300, 24-1). As

 

9 “There is policy and there is practice and so we don't have in writing all of our practice, but our practice is in line
with what we are required to do by policy.” (Bordak, 302, 4-8).

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William Bordak, Director of Community Standards at SJU testified: “It wasn't an arbitrary
decision of mine to just not share documents. That was part of our meetings to operationalize the
interim sexual misconduct policy at that time.” (Bordak, 98, 1-5).

In keeping with SJU policy and practice, Doe was not given any specific information or
evidence before his hearing before SJU’s investigator, Elizabeth Malloy, Esq. (“Malloy”) Doe
was not given the complaint that Dr. Perry had prepared against him before his hearing.

(Bordak, 412). In fact, SJU in paragraph 84 of its Answer admits that before meeting with
Malloy, Plaintiff was not given an incident report document or given a chance to question Roe.10
He was not given access to photographs that Roe had taken or any of her text messages
exchanged contemporaneous to the alleged assault. (Bordak, 412). All of that information was
available to Roe well before she attended the hearing with Malloy; yet Doe was denied access to
any of it, even the specific allegations against him. (Bordak, 413).

On March 19, 2018, still ignorant of the actual charges and evidence against him, Doe
attended his hearing before Malloy.11 But to the extent Doe believed he might be belatedly
advised of that information at the hearing, he was mislead. SJU has no practice or policy
requiring an investigator to provide accused students with the Incident Report, statements, claims
or evidence before or during the hearing. (White, 43-44, 153, 265). Rather, “what is shared by
the investigator at the [hearing] . . . is something determined only by the investigator” who has
all of the relevant information. (White, 144, 266, 5-8; Bordak, 355-356, 16-3). Malloy

confirmed that no one at SJU instructed her about what information or evidence she should show

 

10 SJU admits that Doe was never given an incident report or a chance to question Roe before his hearing with
Malloy. See 11 84 of Defendant SJU’s Answer and Counterclaim.

ll See 11 85 of Defendant SJU’s Answer and Counterclaim.

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an accused student during his hearing; sharing was completely within her discretion. (Malloy,

96-97 - Exhibit E). And Malloy decided not to share any information with Doe.

When Malloy conducted her hearing with Doe, all that he knew about Roe’s claim

against him was that he had been “rough” with her (Malloy, 95). Malloy knew Dr. Perry had

likely shown the complainant the complaint, but not the respondent. (Malloy, 111). In Malloy’s

experience, she had never seen a case at SJU “where the respondent had the ability to review the

complaint prior to the meeting wit ” the investigator (Malloy, 112, 5-14).12 At the hearing,

Malloy had a copy of the complaint against Doe (Malloy, 90), and she may have shown it to

Roe, but she “definitely” did not show it to Doe.” (Malloy, 142-143, 19-6). Instead, Malloy only

told Doe what she thought Would help her in her “investigation:”

Schwabenland:

Malloy:

Schwabenland:

Malloy:

Engle:

Schwabenland:

Malloy:

Schwabenland:

And you told him that the claim was that -- the claim by Ms. Roe
was that he squeezed her neck, right?

Yes.

Did you tell him that Ms. Roe Was claiming that she felt he wanted
to harm her?

I don't think so.
Objection.

Did you tell him that Ms. Roe was claiming he choked her to the
extent that she couldn't breathe?

I told him that she said -- that she said that it hurt and that she was
scared and that's Why she texted her friend. I don't think I said
“couldn't breathe."

Okay. So you didn't mention anything that she was claiming he
choked her or that she couldn't breathe because of that?

 

12 Malloy doesn’t know of any reason that she could not disclose the Complaint if a student asks for it. (Malloy,
96)Malloy admits that there are occasions on which she, as an investigator meeting with a student for the first time
would show them the complaint. (Malloy, 110).

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Malloy:
Schwabenland:
Malloy:

Schwabenland:

Malloy:

I told you What I told him.
And it doesn't include those two statements?
I didn't use the word "choked."

Did you use the words that because of whatever she complained
about she could not breathe?

No.

(Malloy, 265-266, 4-7). Malloy claims that she told Doe that Roe had bruises (a fact which Doe

vigorously denies) but admits that she only told him they were somewhere on her neck and that

she did not describe them. (Malloy, 216).

Malloy testified that Roe gave her the pictures of her neck either at her meeting with

Malloy, which immediately preceded Malloy’s meeting with Doe, or shortly thereafter (Malloy,

276). In either event, she never contacted Doe or showed those pictures so that he could

comment on them. (Malloy, 276). When asked if she ever showed Doe any pictures, Malloy

testified, “I did not.” (Malloy, 213, 4-6). When asked if she made the determination not to show

him any pictures, Malloy said, “Yes.” (Malloy, 214, 5-7).13

Schwabenland:
Malloy:
Schwabenland:
Malloy:

Schwabenland:

Malloy:

So you made the determination not to show him any pictures?
Yes.

Did you also make -

That it was not necessary to show him any pictures.

Well, you ultimately made a finding of responsibility against him,

right?
1 did.

 

13 Interetingly, Malloy admitted that if she were the respondent, she would Want to know the specific charges against
her and would want that information before any determination of guilt was made. (Malloy, 266 - 267).

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Schwabenland: So it's not necessary for your purpose, but don't you think the guy
charged with the offense has a right to see what the evidence is

against him?

Malloy: I did not feel that it was necessary for my purposes of doing the
investigation

Schwabenland: l didn't ask you that.

Malloy: You're just arguing with me.

Schwabenland: No, I am not. Did you think that a person charged has a right to see

what the evidence is against him?
Malloy: I don't think it's a right.
(Malloy, 214- 215, 5-2).

Malloy testified that Roe likely sent her copies of the text messages she exchanged with
her friends shortly after the hearing. (Malloy, 287). But again, she never provided those text
messages - several of which flatly contradict Roe’s story - to Doe for comment. (Malloy, 287).
Malloy repeatedly decided to withhold information, charges and evidence from Doe. She did so
as an agent of SJU, an “investigator” acting on behalf of the University, with the burden to
review all of the evidence and complete the investigation. (White, 271),

Afcer this shoddy and biased investigation, in which Doe had no meaningful information
about the charges or the evidence against him, Malloy decided that Doe was guilty. Doe
immediately appealed Malloy’s decision. But, once again, SJU had silently stacked the deck
against accused students. The SMP explicitly allows the claimant and the respondent to appeal
an investigator’s decision. lt makes no provision for additional parties to weigh on the outcome
of the appeal. Yet, unbeknownst to students, once a student files an appeal seeking to overturn a

wrongful conviction under the SMP, SJU routinely solicits written statements from select SJU

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employees as part of the appeal packet. (White, 23 6; Bordak, 362).14 lt is particularly
noteworthy that the investigator (who rendered the decision from which the student is appealing)
is asked to respond to the appeal in writing. (White, 23 6) Students are not made aware of this
fact. (White, 228, 12-15; 246). So, unless an accused student reviews the appeal file after the
appeal is concluded - as Doe happened to do in this case - he will never know that SJU
employees (in Doe’s case, two) and the Investigator have filed supplemental statements with the
appeal panel in support of the Investigator’s decision. (White, 231). Not surprisingly, Malloy’s
findings and conclusions have never been overturned by SJU on appeal. (Malloy, 277-278).

At that point, alter the appeal is decided, “there is no mechanism for the Respondent to
bring to the University’s attention or have considered new evidence” (White, 243, 19-23).

Doe sued SJU alleging, in pertinent part, that SJU had conducted an “investigation” into
Roe’s claims in which it withheld fi'om him the details of those claims against him as well as the
evidence against him. SJU filed a Counterclaim, alleging that Doe’s complaint “contained
frivolous and unreasonable allegations that SJU intentionally withheld information from plaintiff
during its investigation in an attempt to embarrass, humiliate and otherwise punish him.”

II. LEGAL ARGUMENT

A. STANDARD FOR SUMMARY JUDGMENT

A motion for summary judgment is appropriate "if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the affidavits, if any, show that there is no
genuine issue as to any material fact and that the moving party is entitled to a judgment as a

matter of law." Fed R. Civ. P. 56(c). An issue of fact is "material" if it might affect the outcome

 

14 Bordak admits that it is SJU’s practice to invite specific individuals to respond to an appeal, but this practice of
inviting responses to the appeal is not memorialized anywhere or set forth anywhere in the SMP policy or
elsewhere.” (Bordak, 324, 12-18)

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of the case under governing law; it is " genuine . . . if the evidence is such that a reasonable jury
could return a verdict for the nonmoving party." Alpha Pro Tech, Inc. v. VWR Int ’l, LLC, 2017
U.S. DIST LEXIS 135507, * 12-14, 2017 WL 3671264, quoting Anderson v. Liberty Lobby, Inc.,
477 U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986).

The party seeking summary judgment bears the “initial responsibility of informing the
district court of the basis for the motion and identifying those portions of the record that
demonstrate the absence of a genuine issue of material fact.” Alpha Pro, *12-14, citing Celotex
Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). However, where
the non-moving party bears the burden of proof on a particular issue, the moving party’s burden
is met by "pointing out to the district court that there is an absence of evidence to support the
non-moving party’s case." Id., quoting Celotex Corp. at 325 . Summary judgment is then
appropriate if the non-moving party fails to rebut by making a factual showing "sufficient to
establish the existence of an element essential to that party’s case, and on which that party will
bear the burden of proof at trial." Id., quoting Celotex Corp. at 322.

ln this case, SJU has filed a Counterclaim for “Attomey’s Fees Pursuant to 42 U.S.C.
§1988(b).” Plaintiff submits that SJU’s counterclaim must be dismissed because 42 U.S.C.
§1988 is essentially a procedural statute and does not create an independent federal cause of
action for the violation of federal civil rights. Secondarily, SJU’s claim rests on its assertion that
Plaintiff has made “fiivolous, unfounded and unreasonable” allegations that the University
intentionally withheld information from Plaintiff during its investigation of Roe’s sexual assault
allegations.15 However, the testimony of SJU’s employees, as well as that of its investigator,

establish that the University did, in fact, knowingly and deliberately withhold information from

 

15 See SJU’s Answer and Counterclaim, 1111 9-12.

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the Plaintiff during its investigation lt was actually the University’s policy to do so. So, even if
§1988 did create an independent cause of action, SJU’s Counterclaim should be dismissed on the
grounds that it has no factual basis.

B. PLAINTIFF IS ENTITLED TO SUMMARY JUDGMENT AS A MATTER
OF LAW

42 USCS § 1988(b) authorizes the Court to award reasonable attorney’s fees to a
prevailing party “[i]n any action or proceeding to enforce . . . title IX of Public Law 92-318 [20
USCS §§ 1681 et seq.] . . . .” Courts which have considered the question have overwhelmingly
concluded that 42 U.S.C. §1988 does not create an independent cause of action for the violation
of federal civil rights. See Stagemeyer v. County of Dawson, 192 F. Supp. 2d 998, 1006, 2002
U.S. Dist. LEXIS 4727, *13-14, citing Moor v. County ofAlameda, 411 U.S. 693, 702-03 & 704
n.17, 36 L. Ed. 2d 596, 93 S. Ct. 1785 (1973) (collecting cases holding that § 1988 does not
independently create federal cause of action for violation of federal civil rights); Sarmiento v.
Texas Bd. of Veterinary Med. Examiners, 939 F.2d 1242, 1245 n.4 (5th Cir. 1991) (§ 1988 does
not create independent federal cause of action, but is essentially procedural statute); Schroder v.
Volcker, 864 F.2d 97, 99 (10th Cir. 1988) (§ 1988 defines procedures pursuant to which
remedies may be sought in civil rights actions; it does not create independent cause of
action); McLaughlin v. City ofLaGrange, 662 F.2d 1385, 1388 n.l (l lth Cir. 1981) (same), cert.
denied, 456 U.S. 979 (1982).

Rather, these courts have consistently concluded that §1988 “relates to the question of
damages once the substance of a civil rights violation has been established.” Johnson v. Marton,
55 F.R.D. 282, 282, 1972 U.S. Dist. LEXIS 15490, *1, citing Sullivan v. Little Hunting Park,
Inc., 396 U.S. 229, 235-36, 24 L. Ed. 2d 386, 90 S. Ct. 400 (1969); Basista v. Weir, 340 F.2d 74,

84-88 (3d Cir. 1965); Pierre v. Jordan, 333 F.2d 951, 958 (9th Cir. 1964); Brazier v. Cherry, 293

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F.2d 401, 405-10 (5th Cir. 1961); Pritchard v. Smith, 289 F.2d 153, 157-59 (8th Cir. 1961);
Arnmlung v. City ofChester, 355 F. Supp. 1300, 1304 (E.D. Pa. 1973).

Because it does not support an independent cause of action, courts regularly dismiss
claims and counterclaims based on §1988, properly postponing any decision about attomey’s
fees until after a “prevailing party” has been identified See cases cited above; see also Black v.
Allegheny County, 2014 U.S. Dist. LEXIS 125241, *4-7, adopted by, motion granted by, claim
dismissed by Black v. Allegheny County, 2014 U.S. Dist. LEXlS 124643 (W.D. Pa., Sept. 8,
2014)(dismissing defendant’s counterclaim under §1988(b) in light of “the vast amount of
authority from other jurisdictions cited by Plaintiffs recognizing that §1988 does not provide for
a separate cause of action”); Mazzeo v. Gibbons, 649 F. Supp. 2d 1182, 1199, 2009 U.S. Dist.
LEXIS 54986 (dismissing plaintiff s §1988 claim for attomey’s fees with the express
understanding that plaintiff may assert her right to those fees should she become a prevailing
party); Russo v. City of Atl. City, 2016 U.S. Dist. LEXlS 50056, *24-25 (dismissing defendant’s
counterclaim under §1988 on the grounds that it is not a separate federal claim).

Given that SJU does not state a legally cognizable claim, Plaintiff asks this Court to

dismiss SJU’s Counterclaim.

C. THE FACTS ESTABLISH THAT SJU WITHHELD INFORMATION
DURING ITS INVESTIGATION

SJU claims that it is entitled to attorney’s fees because Plaintiff s claims “are frivolous,
without foundation and lack any objectionable reasonable basis.”16 lt specifically asserts that
“plaintiffs complaint contains frivolous and unreasonable allegations that SJU intentionally

withheld information from plaintiff during its investigation in an attempt to embarrass, humiliate

 

16 See SJU’s Complaint and Counterclaim, 11 9.

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and otherwise punish him” and that Plaintiff “knows these allegations are unfounded.” The
undisputed facts of this case plainly lay out three truths: First, that Plaintiff has never alleged
SJU acted “in an attempt to embarrass, humiliate and otherwise punish him.” To the contrary,
Plaintiff s Complaint consistently alleges that SJU’s conduct - which certainly caused Plaintiff,
embarrassment and humiliation - was motivated by gender bias. Hence the Title lX claim.

Second, the testimony establishes that SJU absolutely did withhold important and
relevant (and exculpatory) information from Doe. lt withheld the actual claims against him. lt
withheld text messages. lt withheld photo graphs. lt withheld Roe’s disciplinary record.17 lt
withheld information about its own policies and procedures. Far from being “f`rivolous, without
foundation and lack[ing] and objectionable [sic] basis,” SJU’s own employees establish that
Doe’s assertions that SJU withheld this information is true.

And, third, the evidence shows that SJU withheld this information knowingly and
deliberately. lt was their policy, lt was their practice And it was never disclosed to their
students.

III. CONCLUSION

For the reasons set forth above, plaintiff respectfully requests this Court to dismiss SJU’s
counterclaim.

Respectfully submitted,

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Dated:__§§p_te_n_i_be_ij 2_4_,__2_0_1 8_ BY:_/s/ John Mirabella

 

17 SJU did not produce Roe’s disciplinary records until well after the depositions of its own employees, so they
could not be questioned on that front But there is no question that this information was withheld from Doe.

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